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              Exhibit O
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                                                Y Gg~~

                                           F


                                               SHLl~~~

                                        Bob Ferguson
           ATTORNEY GENERAL OF WASHINGTON
                                  Complex Litigation Division
                       800 Fifth Avenue # 2000 • Seattle WA 98104-3188

April 25, 2019

       Via electronic mail

Stuart J. Robinson
U.S. Department of Justice
Civil Division I Federal Programs Branch
450 Golden Gate Ave., Suite 7-5395
San Francisco, CA 94102

Dear Stuart,

We write in response to your letter dated April 24, 2019. We will destroy all copies of the Bates
ranges you identified in your letter over which you claim attorney—client privilege and/or work
product protection. We do not have any notes regarding those Bates ranges.

We will not oppose your motion to temporarily seal the documents you filed at Dkt. # 179 until
your further review is complete on or before April 29, 2019. However, we are unable to stipulate
that these documents are privileged or potentially privileged (and we reserve the right to
challenge any claims of privilege or protection).

On the subject of privilege, it has come to our attention that the privilege log you produced at
Dkt. # 179-23 omits a great deal of critical, required information. The privilege log is over 800
pages long, with most pages containing multiple entries. Hundreds of pages in the middle of the
log—each of which contains up to ten individual entries—are deficient. They reflect documents
that were "Withh[e]ld in Full" or redacted, and yet the log provides no "Basis for Withholding"
whatsoever. See Privilege Log (Dkt. # 179-23) at 154-631 of 812; see also, e.g., id. at 29, 76, 83,
97, 111, 113 of 812.

Obviously, a "Basis for Withholding" is required for each and every document you have
withheld or redacted. As the Court stated in its March 19, 2019 Order Granting Motion to
Supplement the Administrative Record, an adequate privilege log must "identif[y] the privilege
asserted" and "provid[e] plaintiffs and the Court with enough information to test the assertion."
Dkt. # 175 at 5 (emphasis added); see also id. at 6 n.3 (asserted privilege must be "properly
claimed"); Fed. R. Civ. P. 26(b)(5)(A) (party claiming privilege or protection must "expressly
make the claim" and provide information to "enable other parties to assess the claim"). Your
failure to indicate a basis for the redaction or withholding of numerous documents prevents the
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                         ATTORNEY GENERAL OF WASHINGTON


Stuart J. Robinson
April 25, 2019
Page 2

Plaintiff States from testing your apparent assertions of privilege or protection and deviates from
Rule 26(b) and the Court's Order.

We trust that you will promptly correct this problem, since our agreed extension of the summary
judgment briefing schedule (with our reply due on May 10) was premised on your provision of a
complete supplementation of the record, including a complete privilege log, by April 16. By no
later than 5:00 pm PDT on Friday, April 26, please respond with a date certain by which you will
provide a complete and compliant privilege log so that we may assess what steps, if any, to take
prior to the summary judgment reply deadline.

Finally, the documents produced in the range of CWASHAR000000 1 -2409 (contained within
Dkts. 179-4 to 179-13) were produced out of order. If you refile the supplemental record to
correct the other issues previously identified, please refile the CWASHAR portion of the
supplemental record so that they are in numbered order.

                                              Sincerely,
                                                 f ,


                                              KRISTIN YNE KI
                                              Assistant Attorney General
                                              206.464.7459
                                              kristin.beneski@atg.wa.gov
Case 2:18-cv-01115-RSL Document 186-2 Filed 05/24/19 Page 4 of 42




               Exhibit P
                Case
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                                                                           Page298
                                                                                5 ofof42
                                                                                       517




  From:                                Jost, Aaron W <JostAW@state.gov>
  Sent:                                Friday, March 30, 2018 4:22 PM
  To:                                  Mowers, Matthew D; Kaidanow, Tina S
  Cc:                                  Miller, Michael F; Steffens, Jessica L; Litzenberger, Earle D (Lee)
  Subject:                             RE: Sig Sauer Trade Issue




  Regards,
  Aaron

  -----Original Message-----
  From: Mowers, Matthew D
  Sent: Thursday, March 29, 2018 9:45 AM
  To: Jost, Aaron W <JostAW@state.gov>; Kaidanow, Tina S <KaidanowTS@state.gov>; Mowers, Matthew D
  <MowersMD@state.gov>
  Cc: Miller, Michael F <Millermf@state.gov>; Steffens, Jessica L <SteffensJL@state.gov>; Litzenberger, Earle D (Lee)
  <LitzenbergerED@state.gov>
  Subject: Re: Sig Sauer Trade Issue




  Sent from my BlackBerry 10 smartphone.
   Original Message
  From: Jost, Aaron W
  Sent: Wednesday, March 28, 2018 7:34 PM
  To: Kaidanow, Tina S; Mowers, Matthew D
  Cc: Miller, Michael F; Steffens, Jessica L; Litzenberger, Earle D (Lee)
  Subject: Re: Sig Sauer Trade Issue

  Matt,




  Thanks,
  Aaron


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                                                                                       517
  Acting Director
  PM/RSAT

   Original Message
  From: Kaidanow, Tina S
  Sent: Thursday, March 22, 2018 3:43 PM
  To: Mowers, Matthew D
  Cc: Miller, Michael F; Steffens, Jessica L; Litzenberger, Earle D (Lee)
  Subject: RE: Sig Sauer Trade Issue




  Official
  UNCLASSIFIED

  From: Mowers, Matthew D
  Sent: Thursday, March 22, 2018 2:00 PM
  To: Kaidanow, Tina S <KaidanowTS@state.gov>
  Subject: FW: Sig Sauer Trade Issue




  Matt

  -----Original Message-----
  From: Sununu, Christopher [mailto:Christopher.Sununu@nh.gov]
  Sent: Thursday, March 22, 2018 11:55 AM
  To: Mowers, Matthew D
  Subject: Sig Sauer Trade Issue




  Simply put, Sig needs the US Government to request to the German government that the Germans drop their "ITAR-
  free" requirement on their Bundeswehr pistol procurement, given it unfairly treats American offerings, when no similar
  barriers exist for German companies looking to do business with our armed forces. Given the nature of such a request,
  Sig has asked Governor Sununu to raise this to the highest levels of the White House, similar/equal to his efforts on Sig's
  Thailand issue a year ago. We do not see any practical way forward other than Government to Goverment action to get
  Germany to drop the unfair ITAR-free restriction. Note that the President did visit Sig Sauer very very early in the
  campaign (sometime earlier in 2015, I believe) with one or both of his sons. So there is a modest history there. Of
  course, we're pleased with any other senior folks with whom you think the Governor should engage on this as well.


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  The company's Washington lobbyists are engaging with the Administration at various levels. But we feel that personal
  involvement by the Governor is necessary to ensure this is appropriately and quickly elevated. The company is also
  looking to engage Sen. Shaheen's Office, given her position on the Foreign Relations Committee. But it's unclear how
  responsive the administration will be to any intervention by her office (through no fault of the Senator or her staff).

  To be clear, this isn't about Sig trying to unseat H&K for the US Marine procurement, as that would only tick off the
  Marines and may not change the outcome. It's about the much more sizable Bundeswehr procurement and contrasting
  that with the Marine procurement to demonstrate the unbalanced situation faced by a NH company- despite Sig having
  sister operations in Germany. As an aside, there have been news reports in Germany regarding Russian
  influence/funding in/of H&K (I can get you an article of two if you'd like).

  Thanks again for the willingness to engage. Please let me know what other info I can provide to you to help us.



 David Cuzzi, President
 ~ategies

 ~illstrategies.com<http://www.prospecthillstrategies.com>

  >

  This email is UNCLASSIFIED.

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  UNCLASSIFIED




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              Exhibit Q
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                                                                            Page211
                                                                                 9 of
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                                                                                       538
  From:                  Heidema, Sarah J <HeidemaSJ@state.gov>
  Sent:                  Friday, July 27, 2018 9:07 AM
  To:                    Paul, Joshua M <PaulJM@state.gov>; Miller, Michael F <Millermf@state.gov>; Hart,
                         Robert L <HartRL@state.gov>; Rogers, Shana A <RogersSA2@state.gov>; Freeman,
                         Jeremy B <FreemanJB@state.gov>; Fabry, Steven F <FabrySF@state.gov>
  Subject:               RE: 18.04.06 DOJ MTD.pdf


  As I read this, he wants to know why we stopped arguing that the technology subject to the case, if released, would
  harm national security or foreign policy

  Official - SBU
  UNCLASSIFIED


  From: Paul, Joshua M
  Sent: Friday, July 27, 2018 9:01 AM
  To: Heidema, Sarah J <HeidemaSJ@state.gov>; Miller, Michael F <Millermf@state.gov>; Hart, Robert L
  <HartRL@state.gov>; Rogers, Shana A <RogersSA2@state.gov>; Freeman, Jeremy B <FreemanJB@state.gov>; Fabry,
  Steven F <FabrySF@state.gov>
  Subject: RE: 18.04.06 DOJ MTD.pdf

  He wants to know what changed in DOJ's opinion between the point where it was arguing vociferously against DD to
  make the USG pursue a settlement. That's fundamentally a DOJ question - nothing changed on our side, to my
  knowledge?

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  UNCLASSIFIED


  From: Heidema, Sarah J
  Sent: Friday, July 27, 2018 9:00 AM
  To: Paul, Joshua M <P. 9.~_!).!Y.l.@.~t 9.t.~.._g_gy>; Miller, Michael F <!Y.H!.l.~T.!D.f@~19.1~.:gg_y>; Hart, Robert L<!:J.9._r:_t_l:t~@.~t9.t.~.._g_g_y>;
  Rogers, Shana A <!3:9.g_~T.~.?.A..?..@.~t9t~,.g_gy>; Freeman, Jeremy B <.f._r:~~-Q'.!9.!J.).~@~19.1~.:gg_y>; Fabry, Steven F
  <FabrySF@state.gov>
  Subject: RE: 18.04.06 DOJ MTD.pdf

  This is actually a question for us ...

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  From: Paul, Joshua M
  Sent: Friday, July 27, 2018 8:55 AM
  To: Miller, Michael F <!Y.H!.l.~T.!D.f@~_t_9.t~,g9.y>; Heidema, Sarah J <.1::1.~_[Q~!D..9..?.).@.~t 9.t.~. .ggy>; Hart, Robert L
  <!j_9._r:1ft~@.~1 9.t.~.,gg_y>; Rogers, Shana A <J~_g_g_~_r:~_?.A..?..@.~.t.9.1~,g_gy>; Freeman, Jeremy B <.f.~~-~.!D. 9.~J~.@.~1 9.t.~.,gg_y>; Fabry,
  Steven F <FabrySF@state.gov>
  Subject: FW: 18.04.06 DOJ MTD.pdf

  FYI-

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                                                                                 10 of 42
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  From: Paul, Joshua M
  Sent: Friday, July 27, 2018 8:47 AM
  To: 'Fite, David (Foreign Relations)' <Q_9.Y.!!Lf.lt~_@.fg.r_~_i_g.Q_._~~D. 9.t~.'.gg_y>; Faulkner, Charles S <f9.~.!~D-~.r.<;;:_$.@~t9.1~,gQy>;
  Darrach, Tamara A <P9_r.r_9._~b.I.A@~t9J~.:gQy>
  Subject: RE: 18.04.06 DOJ MTD.pdf

  Dear David,

  On a technical legal question such as this, we would have to refer you in the first instance to the Department of Justice.
  Would you like to reach out to them directly, or shall I pass along your inquiry?

  Josh

  Official
  UNCLASSIFIED


  From: Fite, David (Foreign Relations) <Q_9.Y.!!Lf.lt~_@.fg.r_~_i_g.Q_._~~D. 9.t~_._g_g_y>
  Sent: Thursday, July 26, 2018 7:22 PM
  To: Paul, Joshua M <PaulJM@state.gov>; Faulkner, Charles S <FaulknerCS@state.gov>; Darrach, Tamara A
  <Darrach TA@state.gov>
  Subject: FW: 18.04.06 DOJ MTD.pdf


  May I please get an analysis as to why this April 4 th submission by the Department of Justice was so much in error by
  the end of April?




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               Exhibit R
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           Paul, Joshua M </O=EXCHANGELABS/OU=EXCHANGE ADMINISTRATIVE GROUP
  From:    (FYDIBOHF23 SPDL T)/CN=RECIPIENTS/CN=FE0AF l 773ED642DF9120291EA0A8C588-
           p AUL, JO SHU>
  Sent:    Friday, July 20, 2018 2:24 PM
  To:      Fite, David (Foreign Relations) <David_Fite@foreign.senate.gov>; Rice, Edmund
           <Edmund.Rice@mail.house.gov>; Miller, Michael F <Millermf@state.gov>; Darrach,
           Tamara A <DarrachTA@state.gov>
  Cc:      McCormick, Jamie <Jamie.McCormick@mail.house.gov>; Oliver, Stacie (Foreign Relations)
           <Stacie_Oliver@foreign.senate.gov>
  Subject: RE: Request briefing on proposed ITAR change on 3-D printing software for plastic firearms


  I will pass back these questions to our team, and we look forward to discussing them with you in person to the extent
  that they fall within the context of our responsibilities under the AECA.

  Official
  UNCLASSIFIED


  From: Fite, David (Foreign Relations) <David_Fite@foreign.senate.gov>
  Sent: Friday, July 20, 2018 2:10 PM
  To: Paul, Joshua M <PaulJM@state.gov>; Rice, Edmund <Edmund.Rice@mail.house.gov>; Miller, Michael F
  <Millermf@state.gov>; Darrach, Tamara A <DarrachTA@state.gov>
  Cc: McCormick, Jamie <Jamie.McCormick@mail.house.gov>; Oliver, Stacie (Foreign Relations)
  <Stacie_Oliver@foreign.senate.gov>
  Subject: RE: Request briefing on proposed ITAR change on 3-D printing software for plastic firearms

  But it's State's changes that are allowing this to be implemented right? And it's these changes that State will take,
  especially pursuant to the authority in 126.2, that will allow this information to be disseminated worldwide without a
  license, without penalty, right?

  Do you mean to tell us this question did not arise or was not fully considered during the (presumably) interagency
  deliberation on the settlement agreement? Or do you have answers to these questions, but State isn't willing to tell us?

  Additionally, State is about take an action to suspend the application of ITAR restrictions on the publication of controlled
  information/technology on the Internet for a temporary period of time, BEFORE the reg change transferring the defense
  items that the information/tech pertains to becomes final. And what if that reg change does not become final, or is
  different from the draft rule? In that instance, State will have allowed the worldwide transfer of export-controlled
  information "in the interest of the security and foreign policy of the United States"?


  From: Paul, Joshua M <PaulJM@state.gov>
  Sent: Friday, July 20, 2018 2:01 PM
  To: Fite, David (Foreign Relations) <David Fite@foreign.senate.gov>; Rice, Edmund <Edmund.Rice@mail.house.gov>;
  Miller, Michael F <Millermf@state.gov>; Darrach, Tamara A <DarrachTA@state.gov>
  Cc: McCormick, Jamie <Jamie.McCormick@mail.house.gov>; Oliver, Stacie (Foreign Relations)
  <Stacie Oliver@foreign.senate.gov>
  Subject: RE: Request briefing on proposed ITAR change on 3-D printing software for plastic firearms

  Hi David,

  We would need to refer you to TSA or other law enforcement organizations on this question. The DDTC nexus on this
  issue was/is limited to our role in controlling exports of tech data, which is the only reason we got involved in the first
  place.


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                                                                                        538

  Josh

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  From: Fite, David (Foreign Relations) <Q_9.Y.[~Lrn~_@.fg.r_~_i_g_l]_._~~!} 9J~_._g_g_y>
  Sent: Friday, July 20, 2018 1:38 PM
  To: Paul, Joshua M <PaulJM@state.gov>; Rice, Edmund <Edmund.Rice@mail.house.gov>; Miller, Michael F
  <Millermf@state.gov>; Darrach, Tamara A <DarrachTA@state.gov>
  Cc: McCormick, Jamie <Jamie.McCormick@mail.house.gov>; Oliver, Stacie (Foreign Relations)
  <Stacie Oliver@foreign.senate.gov>
  Subject: RE: Request briefing on proposed ITAR change on 3-D printing software for plastic firearms

  Also, what are the law enforcement and counter-terrorism implications of this change? Enabling the widespread
  acquisition of undetectable or largely-undetectable firearms would seem to be a bad idea, especially in protection of
  domestic and international airline flights from terrorist hijacking/attacks. What changes will be required by TSA here
  and abroad to deal with this?


  From: Paul, Joshua M <PaulJM@state.gov>
  Sent: Friday, July 20, 2018 11:42 AM
  To: Rice, Edmund <Edmund.Rice@mail.house.gov>; Fite, David (Foreign Relations) <David Fite@foreign.senate.gov>;
  Miller, Michael F <Millermf@state.gov>; Darrach, Tamara A <DarrachTA@state.gov>
  Cc: McCormick, Jamie <Jamie.McCormick@mail.house.gov>; Oliver, Stacie (Foreign Relations)
  <Stacie Oliver@foreign.senate.gov>
  Subject: RE: Request briefing on proposed ITAR change on 3-D printing software for plastic firearms

  Understood, and that's helpful information. We'll round back and be in touch.

  Official
  UNCLASSIFIED


  From: Rice, Edmund <Edmund.Rice@mail.house.gov>
  Sent: Friday, July 20, 2018 11:32 AM
  To: Paul, Joshua M <PaulJM@state.gov>; Fite, David (Foreign Relations) <David Fite@foreign.senate.gov>; Miller,
  Michael F <Millermf@state.gov>; Darrach, Tamara A <DarrachTA@state.gov>
  Cc: McCormick, Jamie <Jamie.McCormick@mail.house.gov>; Oliver, Stacie (Foreign Relations)
  <Stacie Oliver@foreign.senate.gov>
  Subject: RE: Request briefing on proposed ITAR change on 3-D printing software for plastic firearms

  A phone call would be only a first step for we four. I expect that as news of this settlement spreads, there will
  be a requirement to brief a number of Congressional staff and then Members.

  From: Paul, Joshua M <PaulJM@state.gov>
  Sent: Friday, July 20, 2018 11:21 AM
  To: Fite, David (Foreign Relations) <Q_9.Y.[~Lf._iJ~_@.f.gr_~_i_g_Q_._~~!:1.9J~_._g_gy>; Rice, Edmund <~.9.!D..~.IJ9.,.!3:[~-~.@.!D. 9.l!.-.b.9.~.~~,g9.y>;
  Miller, Michael F <.IY.!!.1.!~r.!D.f.@.~J9.1~,g9.y>; Darrach, Tamara A <Q_9._r:_r:9.~_bIA..@.~t9J~_._g_gy>
  Cc: McCormick, Jamie <)_9_!!.!!.~:.!Y.l.~~9..r:.r:!:l.[~.~@.r:r.i.9.i.!:.b.9.~.~~-=gg_y>; Oliver, Stacie (Foreign Relations)
  <Stacie~Oliver@foreign.senate.gov>
  Subject: RE: Request briefing on proposed ITAR change on 3-D printing software for plastic firearms

  Hello,



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  We've actually been in the process of putting together a briefing for you on this - with the intent being to provide a
  phone call early next week. Would that work?

  Josh

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  UNCLASSIFIED


  From: Fite, David (Foreign Relations) <David Fite@foreign.senate.gov>
  Sent: Friday, July 20, 2018 11:10 AM
  To: 'Rice, Edmund' <Edmund.Rice@mail.house.gov>; Miller, Michael F <Millermf@state.gov>; Paul, Joshua M
  <PaulJM@state.gov>; Darrach, Tamara A <DarrachTA@state.gov>
  Cc: McCormick, Jamie <Jamie.McCormick@mail.house.gov>; Oliver, Stacie (Foreign Relations)
  <Stacie Oliver@foreign.senate.gov>
  Subject: RE: Request briefing on proposed ITAR change on 3-D printing software for plastic firearms

  As well as State's view of State's legal liability to this suit in the first place.


  From: Rice, Edmund <Edmund.Rice@mail.house.gov>
  Sent: Friday, July 20, 2018 11:03 AM
  To: Miller, Michael F <Millermf@state.gov>; Paul, Joshua <pauljm@state.gov>; Darrach, Tamara <darrachta@state.gov>
  Cc: McCormick, Jamie <Jamie.McCormick@mail.house.gov>; Fite, David (Foreign Relations)
  <David Fite@foreign.senate.gov>; Oliver, Stacie (Foreign Relations) <Stacie Oliver@foreign.senate.gov>
  Subject: Request briefing on proposed ITAR change on 3-D printing software for plastic firearms
  Importance: High

  Mike, et. al.:

  This is to request a briefing on the terms of the settlement (attached) that the State Department entered into June
  29th regarding Defense Distributed et al v. United States Department of State et al, Western District of Texas,
  Civil Docket# I: 15-cv-00372-RP. This is the suit brought by several persons who want to make available
  online software for manufacture via 3-D printing of firearms, including plastic firearms.

  In particular, item I (b) indicates that State will amend the IT AR to remove the subject software from the USML
  by July 27th . Several House Members have brought this matter to Rep. Engel's attention and I have been asked
  to look into this ASAP. I expect that Jamie, David and Stacie also would need to know about this.

  Perhaps this could be covered at our July 25 th arms transfer meeting. One way or another, I need a briefing on
  this prior to July 27th.

  Ed



  Edmund B. Rice
  Senior Professional Staff Member
  Democratic Staff
  House Foreign Affairs Committee
  B-360 Rayburn House Office Bldg.
  202-226-8467



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  From:                               Heidema, Sarah J < HeidemaSJ@state.gov>
  Sent:                               Wednesday, July 25, 2018 1:26 PM
  To:                                 Paul, Joshua M; Rogers, Shana A; Fabry, Steven F; Darrach, Tamara A; Miller, Michael F;
                                      Hart, Robert L
  Cc:                                 Freeman, Jeremy B; PM-CPA
  Subject:                            RE: S Contingency Lines
  Attachments:                        Defense Distributed - S contingency QA (5).docx



  Sorry, use this version

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  From: Heidema, Sarah J
  Sent: Wednesday, July 25, 2018 1:25 PM
  To: Paul, Joshua M <PaulJM@state.gov>; Rogers, Shana A <RogersSA2@state.gov>; Fabry, Steven F
  <FabrySF@state.gov>; Darrach, Tamara A <DarrachTA@state.gov>; Miller, Michael F <Millermf@state.gov>; Hart,
  Robert L <HartRL@state.gov>
  Cc: Freeman, Jeremy B <FreemanJB@state.gov>; PM-CPA <PM-CPA@state.gov>
  Subject: RE: S Contingency Lines

  My tweaks and added in the below from DOJ in

  Official - SBU
  UNCLASSIFIED

  From: Paul, Joshua M
  Sent: Wednesday, July 25, 2018 1:17 PM
  To: Rogers, Shana A <RogersSA2@state.gov<mailto:RogersSA2@state.gov»; Fabry, Steven F
  <FabrySF@state.gov<mailto:FabrySF@state.gov»; Darrach, Tamara A
  <DarrachTA@state.gov<mailto:DarrachTA@state.gov»; Miller, Michael F
  <Millermf@state.gov<mailto:Millermf@state.gov»; Hart, Robert L <HartRL@state.gov<mailto:HartRL@state.gov»
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov>>; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov>>
  Subject: RE: S Contingency Lines

  I think that's legally valid but not particularly useful in a public/Congressional context, as the pin can be removed and put
  in your other pocket. Fine for background, so long as S doesn't say it.

  Official - SBU
  UNCLASSIFIED

  From: Rogers, Shana A
  Sent: Wednesday, July 25, 2018 1:15 PM
  To: Paul, Joshua M <PaulJM@state.gov<mailto:PaulJM@state.gov»; Fabry, Steven F
  <FabrySF@state.gov<mailto:FabrySF@state.gov»; Darrach, Tamara A
  <DarrachTA@state.gov<mailto:DarrachTA@state.gov»; Miller, Michael F
  <Millermf@state.gov<mailto:Millermf@state.gov»; Hart, Robert L <HartRL@state.gov<mailto:HartRL@state.gov»
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  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov>>; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov>>
  Subject: RE: S Contingency Lines

  DOJ has suggested the following addition in the background section:

  The 3-D files at issue are for a firearms design that requires adding metal after printing and thus does not violate the
  Undetectable Firearms Act of 1988 (UFA).




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  UNCLASSIFIED

  From: Paul, Joshua M
  Sent: Wednesday, July 25, 2018 1:12 PM
  To: Fabry, Steven F; Rogers, Shana A; Darrach, Tamara A; Miller, Michael F; Hart, Robert L
  Cc: Heidema, Sarah J; Freeman, Jeremy B; PM-CPA
  Subject: RE: S Contingency Lines

  Ok - fair enough. Though presumably by the time he got back to them it would be post-settlement. But alright, ok here,
  pending DDTC final approval.

  Official - SBU
  UNCLASSIFIED

  From: Fabry, Steven F
  Sent: Wednesday, July 25, 2018 1:11 PM
  To: Paul, Joshua M <PaulJM@state.gov<mailto:PaulJM@state.gov»; Rogers, Shana A
  <RogersSA2@state.gov<mailto:RogersSA2@state.gov»; Darrach, Tamara A
  <DarrachTA@state.gov<mailto:DarrachTA@state.gov»; Miller, Michael F
  <Millermf@state.gov<mailto:Millermf@state.gov»; Hart, Robert L <HartRL@state.gov<mailto:HartRL@state.gov»
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov>>; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov>>
  Subject: RE: S Contingency Lines

  Taking it back is effectively committing to answer, but DOJ hasn't cleared us to answer the question, which is why we
  changed it. We can't advise the Secretary to make a commitment that DOJ is, for now at least, not ok with.



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  From: Paul, Joshua M
  Sent: Wednesday, July 25, 2018 1:08 PM
  To: Rogers, Shana A; Darrach, Tamara A; Miller, Michael F; Hart, Robert L
  Cc: Heidema, Sarah J; Freeman, Jeremy B; PM-CPA; Fabry, Steven F
  Subject: RE: S Contingency Lines

  Thanks -




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  1.   Can DDTC confirm that you're still good with this?

  2.    The original if pressed response was to take it back. This is the same, in effect, as declining to comment, but
  without saying as much - my concern is by saying he won't comment on pending litigation that is literally all over the
  press, Swill open himself up to further attacks from the questioner. What's wrong with him saying "I'll take it back?"

  Official - SBU
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  From: Rogers, Shana A
  Sent: Wednesday, July 25, 2018 1:05 PM
  To: Darrach, Tamara A <DarrachTA@state.gov<mailto:DarrachTA@state.gov»; Paul, Joshua M
  <PaulJM@state.gov<mailto:PaulJM@state.gov»; Miller, Michael F <Millermf@state.gov<mailto:Millermf@state.gov»;
  Hart, Robert L <HartRL@state.gov<mailto:HartRL@state.gov»
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov>>; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov>>;
  Fabry, Steven F <FabrySF@state.gov<mailto:FabrySF@state.gov»
  Subject: RE: S Contingency Lines

  Thanks for your patience. The attached includes edits from DOJ and has been cleared by the L/FO. I'm working on a
  final sentence with DOJ re the undetectable firearms act, but may not have it in the next 5 minutes.

  Thanks,
  Shana

  Official - SBU
  UNCLASSIFIED

  From: Darrach, Tamara A
  Sent: Wednesday, July 25, 2018 12:42 PM
  To: Rogers, Shana A; Paul, Joshua M; Miller, Michael F; Hart, Robert L
  Cc: Heidema, Sarah J; Freeman, Jeremy B; PM-CPA; Fabry, Steven F
  Subject: RE: S Contingency Lines

  Hi Shana,

  Sorry to put the pressure on, but my FO is asking that we have this by NLT 1:10 pm. Really appreciate your efforts.

  Thanks!
  Tamara



  Tamara Darrach I Congressional Advisor I Bureau of Legislative Affairs I U.S. Department of State
  2201 C St NW, Rm 7418 I (202) 647-8763 I DarrachTA@state.gov<mailto:DarrachTA@state.gov>



  From: Rogers, Shana A
  Sent: Wednesday, July 25, 2018 11:50 AM
  To: Darrach, Tamara A <DarrachTA@state.gov<mailto:DarrachTA@state.gov»; Paul, Joshua M
  <PaulJM@state.gov<mailto:PaulJM@state.gov»; Miller, Michael F <Millermf@state.gov<mailto:Millermf@state.gov»;
  Hart, Robert L <HartRL@state.gov<mailto:HartRL@state.gov»


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  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov>>; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov>>;
  Fabry, Steven F <FabrySF@state.gov<mailto:FabrySF@state.gov»
  Subject: RE: S Contingency Lines

  Josh-because the intended recipient is S, Jeremy and I need to consult with our leadership before clearing. We'll get
  back to you ASAP.

  Official - SBU
  UNCLASSIFIED

  From: Darrach, Tamara A
  Sent: Wednesday, July 25, 2018 11:48 AM
  To: Paul, Joshua M; Miller, Michael F; Hart, Robert L
  Cc: Heidema, Sarah J; Freeman, Jeremy B; Rogers, Shana A; PM-CPA
  Subject: RE: S Contingency Lines

  Thanks, Josh! I told my FO this is coming and they are ready to flag the finalized version for S.

  From: Paul, Joshua M
  Sent: Wednesday, July 25, 2018 11:47 AM
  To: Miller, Michael F <Millermf@state.gov<mailto:Millermf@state.gov»; Hart, Robert L
  <HartRL@state.gov<mailto:HartRL@state.gov>>
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov»; Rogers, Shana A
  <RogersSA2@state.gov<mailto:RogersSA2@state.gov»; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov»;
  Darrach, Tamara A <DarrachTA@state.gov<mailto:DarrachTA@state.gov»
  Subject: RE: S Contingency Lines

  L/PM, please clear on the attached.

  Tamara, flagging the bootleg.

  Josh

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  From: Paul, Joshua M
  Sent: Wednesday, July 25, 2018 11:44 AM
  To: Miller, Michael F <Millermf@state.gov<mailto:Millermf@state.gov»; Hart, Robert L
  <HartRL@state.gov<mailto:HartRL@state.gov>>
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov»; Rogers, Shana A
  <RogersSA2@state.gov<mailto:RogersSA2@state.gov»; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov»;
  Darrach, Tamara A <DarrachTA@state.gov<mailto:DarrachTA@state.gov»
  Subject: RE: S Contingency Lines

  Ok - done.

  That said, based on whether this story continues to expand in the coming days, it may be necessary to circle back
  together and revisit the Land DOJ recommendation; from a CPA perspective it might be helpful to put all cards on the

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  table and let Congress figure out a solution: public commentators have already raised the underlying issue (see today's
  NPR On Point), and trying to avoid drawing attention to it may ultimately just postpone the inevitable debate.




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  From: Miller, Michael F
  Sent: Wednesday, July 25, 2018 11:22 AM
  To: Paul, Joshua M <PaulJM@state.gov<mailto:PaulJM@state.gov»; Hart, Robert L
  <HartRL@state.gov<mailto:HartRL@state.gov>>
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov»; Rogers, Shana A
  <RogersSA2@state.gov<mailto:RogersSA2@state.gov»; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov»;
  Darrach, Tamara A <DarrachTA@state.gov<mailto:DarrachTA@state.gov»
  Subject: RE: S Contingency Lines

  Right, I think that would be a good idea, being mindful of Steve and L colleagues' comments yesterday ...

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  From: Paul, Joshua M
  Sent: Wednesday, July 25, 2018 11:21 AM
  To: Miller, Michael F <Millermf@state.gov<mailto:Millermf@state.gov»; Hart, Robert L
  <HartRL@state.gov<mailto:HartRL@state.gov>>
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov»; Rogers, Shana A
  <RogersSA2@state.gov<mailto:RogersSA2@state.gov»; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov»;
  Darrach, Tamara A <DarrachTA@state.gov<mailto:DarrachTA@state.gov»
  Subject: RE: S Contingency Lines

  No - the background is provided for background; this is understood in the context of a standard format, but I can add:

  Background (not for public use):



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  UNCLASSIFIED

  From: Miller, Michael F
  Sent: Wednesday, July 25, 2018 11:18 AM
  To: Paul, Joshua M <PaulJM@state.gov<mailto:PaulJM@state.gov»; Hart, Robert L
  <HartRL@state.gov<mailto:HartRL@state.gov>>
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov»; Rogers, Shana A
  <RogersSA2@state.gov<mailto:RogersSA2@state.gov»; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov»;
  Darrach, Tamara A <DarrachTA@state.gov<mailto:DarrachTA@state.gov»
  Subject: RE: S Contingency Lines

  Looks good ... are we comfortable with S saying aloud what's in the background?

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  Official - SBU
  UNCLASSIFIED

  From: Paul, Joshua M
  Sent: Wednesday, July 25, 2018 11:14 AM
  To: Hart, Robert L <HartRL@state.gov<mailto:HartRL@state.gov»
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov»; Rogers, Shana A
  <RogersSA2@state.gov<mailto:RogersSA2@state.gov»; Miller, Michael F
  <Millermf@state.gov<mailto:Millermf@state.gov>>; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov>>;
  Darrach, Tamara A <DarrachTA@state.gov<mailto:DarrachTA@state.gov»
  Subject: RE: S Contingency Lines

  Thanks. L/PM, are you provisionally ok with the below?

  Q&A on 3D Printing of Firearms Settlement

  IF ASKED: Will you postpone implementation of the settlement on 3D-printed firearms



  *      I am aware of Congress' concerns on this matter, though I would observe that the Department's role in this relates
  only to our control of exports.

  IF PRESSED: Will you postpone implementation of the settlement?



  *     I will be happy to take that back and consult with our Legal Advisor.

  Background:

  In 2013 the Department became aware of the presence of CAD files for the 3-D printing on firearms on the webpage of
  Defense Distributed, and directed that they be taken down pending a commodity jurisdiction review. DD ultimately
  sued the Department, alleging violations of the 1st, 2nd, and 5th Amendments. In close consultation with the
  Department of Justice, the Department settled the case in 2018 and agreed to authorize for public release the CAD files
  that were the subject of the litigation.

  An adverse ruling on the merits of this case could have called into question the Department's authority to control the
  export and posting on the internet of more sensitive technical data. If we pursued this DD case to its judicial conclusion
  and lost, it is possible that the ruling could have undermined the technical data controls that regulate information
  required to, e.g., develop or modify sensitive munitions items, and which might be utilized by adversaries to advance
  their own technology or develop countermeasures to U.S. platforms.



  Official - SBU
  UNCLASSIFIED

  From: Hart, Robert L
  Sent: Wednesday, July 25, 2018 11:12 AM
  To: Paul, Joshua M <PaulJM@state.gov<mailto:PaulJM@state.gov»
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov»; Rogers, Shana A

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  <RogersSA2@state.gov<mailto:RogersSA2@state.gov»; Miller, Michael F
  <Millermf@state.gov<mailto:Millermf@state.gov>>; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov>>;
  Darrach, Tamara A <DarrachTA@state.gov<mailto:DarrachTA@state.gov»
  Subject: RE: S Contingency Lines

  Sarah is reviewing but this is what I had in the draft I sent over -

  In 2013 the Department became aware of the presence of CAD files for the 3-D printing on firearms on the webpage of
  Defense Distributed, and directed that they be taken down pending a commodity jurisdiction review. DD ultimately
  sued the Department, alleging violations of the 1st, 2nd, and 5th Amendments. In close consultation with the
  Department of Justice, the Department settled the case in 2018 and agreed to authorize for public release the CAD files
  that were the subject of the litigation.

  An adverse ruling on the merits of this case could have called into question the Department's authority to control the
  export and posting on the internet of more sensitive technical data. If we pursued this DD case to its judicial conclusion
  and lost, it is possible that the ruling could have undermined the technical data controls that regulate information
  required to, e.g., develop or modify sensitive munitions items, and which might be utilized by adversaries to advance
  their own technology or develop countermeasures to U.S. platforms.



  Rob Hart
  202. 736.9221    I hartrl@state.gov<mailto:hartrl@state.gov>

  Official - SBU
  UNCLASSIFIED

  From: Paul, Joshua M
  Sent: Wednesday, July 25, 2018 11:09 AM
  To: Hart, Robert L <HartRL@state.gov<mailto:HartRL@state.gov»
  Cc: Heidema, Sarah J <HeidemaSJ@state.gov<mailto:HeidemaSJ@state.gov»; Freeman, Jeremy B
  <FreemanJB@state.gov<mailto:FreemanJB@state.gov»; Rogers, Shana A
  <RogersSA2@state.gov<mailto:RogersSA2@state.gov»; Miller, Michael F
  <Millermf@state.gov<mailto:Millermf@state.gov>>; PM-CPA <PM-CPA@state.gov<mailto:PM-CPA@state.gov>>;
  Darrach, Tamara A <DarrachTA@state.gov<mailto:DarrachTA@state.gov»
  Subject: S Contingency Lines
  Importance: High

  Hi Rob,

  Not sure how far along you are on the PM Q&A, but can you send me ASAP a paragraph of background to accompany
  the following basic bullets so we can provide this in draft to H in case S gets asked about this today in his public Hearing
  with SFRC, as seems increasingly possible?

  IF ASKED: Will you postpone implementation of the settlement on 3D-printed firearms

  *      I am aware of Congress' concerns on this matter, though I would observe that the Department's role in this relates
  only to our control of exports.

  IF PRESSED: Will you postpone implementation of the settlement?

  *     I will be happy to take that back and consult with our Legal Advisor.


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                                                                             As of: November 29, 2018
PUBLIC SUBMISSION                                                            Tracking No. lk2-942p-nbzi
                                                                             Comments Due: July 09, 2018

Docket: DOS-2017-0046
Amendment to the International Traffic in Arms Regulations: Revision of U.S. Munitions List Categories I,
II, and III

Comment On: DOS-2017-0046-0001
International Traffic in Arms Regulations: U.S. Munitions List Categories I, II, and III

Document: DOS-2017-0046-0556
Comment on DOS-2017-0046-0001




                                    Submitter Information
Name: Barbara Patchen



                                        General Comment
Right now, firearms exports are classified as military. This is why they are under the regulation of the State
Department, and why Congress can block sales of large batches of firearms to foreign countries. [2] With
the rule change, Congress would no longer be automatically informed about sizable weapons sales that it
could stop in the name of national security, even to countries where there are serious human rights
concerns, such as the Philippines and Turkey.[3]

Meanwhile, the Commerce Department just does not have the resources to adequately enforce export
controls. Its Bureau oflndustry and Security does not have staff everywhere. This means that firearms
traffickers, organized crime, terrorist organizations, and other violent and dangerous agents would face far
fewer hurdles to obtaining large caches of American guns.

Switching the regulation of firearms exports from the State Department to the Commerce Department
would facilitate firearms exports to oppressive regimes, remove safeguards that help keep extra-legal
agents like organized crime and terrorist organizations from obtaining weapons, and further fuel violence
that destabilizes countries and causes mass migration. [4]

Here are more details on how the rule change would make the world a far more dangerous place:

It would eliminate the State Departments Blue Lantern program, in place since 1940, which carries out
hundreds of pre-license and post-shipment inspections and publicly reports on them. [5]
It would remove licensing requirements for brokers, increasing the risk of trafficking. [6]
It would remove the State Departments block on the 3D printing of firearms. When Defense Distributed
founder Cody Wilson posted online instructions for how to 3D print weapons, the State Department
successfully charged him with violating arms export laws, since his open-source posting made it possible
for anyone with access to a 3D printer, anywhere, to produce a lethal weapon. The rule switch would
remove this block, effectively enabling 3D printing of firearms in the U.S. and around the globe.

Firearms are dangerous. They are used to kill people every day around the world in acts of organized crime,
political violence, terrorism, and human rights violations. They should be subject to more controls, not less.

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               Exhibit U
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  From:           Heidema, Sarah J <HeidemaSJ@state.gov>
  Sent:           Tuesday, July 24, 2018 8:27 AM
  To:             Tucker, Maureen E <TuckerME@state.gov>
  Subject:        FW: Rep. Engel Letter to Sec. Pompeo on 3D Printed guns
  Attach:         07-20-18 Letter to Secretary Pompeo Regarding 3-D Printed Arms.pdf


  Per our conversation
                                                      Official
                                                   UNCLASSIFIED



  From: Rice, Edmund <Edmund.Rice@mail.house.gov>
  Date: July 20, 2018 at 4:37:58 PM EDT
  To: Miller, Michael F <Millermf@state.gg_y>, Paul, Joshua M <PaulJM@state.g9._y>, Darrach, Tamara A
  <DarrachTA@state.gov>
  Cc: McCormick, Jamie <Jamie.McCormick@mail.house.gov>, Fite, David <david fite@foreign.senate.gov>,
  Oliver, Stacie <stacie oliver@.fg_r~J.gn.senate.gQy>
  Subject: Rep. Engel Letter to Sec. Pompeo on 3D Printed guns
  Mike, et.al.:
  I wanted you to be aware of the attached letter from Rep. Engel to Secretary Pompeo urging a delay of the
  implementation of the settlement in Defense Distributed v. U.S. State Department, given the significant
  security threat that would occur immediately upon release of the software. The letter also is being sent to H.
  Rep. Engel has directed that the letter be released to the public. As you are no doubt aware, the terms of the
  settlement are already being widely reported in the media this afternoon.
  Ed
  Edmund B. Rice
  Senior Professional Staff Member
  Democratic Staff
  House Foreign Affairs Committee
  B-360 Rayburn House Office Bldg.
  202-226-8467




CWASHAR0000412
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                                                          4[llnnninte i.m jforrtgn ©.Hair~
                                                          2170 Rayburn House Office Building
                                                                Wa:shington, DC 20515
                                                             WW'>Y,foi:ejgrs.3Jf;3,iJ:::;,h,;i!J~~,gqy




                                                                          July 20, 2018


                        The Honorable Mike Pompeo
                        Department of State
                        2201 C Street, NW
                        Washington, DC 20520

                        Dear Mr. Secretary:

                               I write to register my profound concern about an action by Department of State officials
                        to remove from export controls certain software for 3-D printing of firearms. This is
                        exceptionally dangerous because it will promote global availability of such technical information
                        and consequent unrestricted rnanufacture of firearms. This action was taken in settling a lawsuit
                        Defense Distributed v. United States,

                                There are several disturbing aspects of the Department's action. Foremost is the
                        likelihood that weapons will become available to anyone with a laptop and a 3-D printer. This
                        defeats US iaws which require background checks on the sale of weaponry. The danger is
                        magnified because 3-D printed fireams would be made of plastic and, therefore, undetectable by
                        most security systems. With these stealthy weapons in the hands of terrorists, Ione wolf killers,
                        or mentally unstable individuals, it will become virtually impossible to protect anyone from gun
                        violence.

                                Moreover, the text of the settlement, attached, suggests that the Department's officials are
                        mis--using authority under Section 126.2 of the International Traffic in Arms Regulations to
                        "temporarily" remove this technical information from the United States Munitions List (USML).
                        However, as anyone who has ever posted something on the internet knows, once posted, the item
                        ls instantly and permanently available to all who seek it. Therefore, it is impossible to
                        temporarily publish 3-D gun printing software on the internet Inasmuch as Sec. 126.2 authority
                        is reserved for use only in the interests of U.S. security and foreign policy, it stretches credulity
                        to believe that release of this information ls in the U.S. interest.




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      The Honorable Mike Pompeo
      Department of State
      2201 C Street, NW
      Washington, DC 20520

             Use of this temporary IT AR authority also suggests that Department officials sought a
      way to avoid complying with Section 38(f) of the Arms Expmt Control Act, which requires
      advance notification to Congress for any removal from the USML.

             The settlement of this lawsuit is slated to go into effect by July 27 th • l urge you to
      suspend the Department's implementation of the settlement irnmediate]y and prevent the
      inappropriate and dangerous release of this technical information.




                                                            i   9
                                                                    f~
                                                 ELIOT L. ENGEL
                                                 Ranking Member




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               Exhibit V
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                                                                            Juiy 25, 2018

    The Honorable Michael Pompeo
    Secretary of State
    U.S, Department of State
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    Dear Secretary Pnmpeo:

    The Department of State is ;-1bout to pcnnit the pub tic, \VOrldwide release of dangerous
    infbrmaticm 011 the 3D printing of functional firearrns that are i.:mddei.:tabk b:.,.· standard si;:cudty
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    gun, making h mi..u:.h easier to evade security mea~mres and obtain a \.vespon. This decisi.on is not
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    an ongoing r\:gubtory review process,

    Rtccmly, the Department settled a Imvsuit by a U,S. firm seeking to post b1uepdnts and other
    information on the Internet that vtould allow anyt.mc vdth a 3D p-dntcr to crr;:ate p1w;tic
    fi.reirms, Based m1 repmts <,-f the terms of the settkn1i;nt, the Department hm, n.o\.v agreed that
    the information nm be exempt from the export licensing :requirements of the International
    Trafficking in A.rn1s Reguiatlons (IT AR), Even mme troubling, the Department ah,o agreed. to
    ttrnnorrffilv
         :r       susnen<l the relevant ITAR restrictions to ~dlow this o1henvise .t'r;rohlbiwd
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    Yd thLs "'temporary'' 5u5p,,;:nt,hm ',"i·in ,;;;·m::cfr,itJy ulio1v u permanent and cmrdmlir{J, ex.port. (Jrn..:e
    p,)sted on the Inten:1et, these fiie:;; v,,;n be shi:rred, du1.--s,,nloa<l.<.::d 1 and us~<l tu creati;: fireanns. As
    such, this actkn is fantan101mt t,J a pennanent rernova1 of an iten1 from the Unikd States
    Munitions List but \Vithou1 the 30hday notice to the Sern11e Foreign Relations Committ;;N: and
    Ifouse Foreign Affairn Committee as required by the . A:nrrn Expon Control Act

    His hard to see hov,; rriakl.ng it easier for crhninal and terrorist organizations to obtr1in
    Lrntractiabk tveapons is in the Ji)rdgn policy and natk>nal security intei-ests of the Unikd
    Srates, This action by rhe State Department .mak~s the \vork of U.S. and imema.tio-na1 hrv,:
    cnft1tc:emi~nt and counter-terror-ism agencies-.-ar::.d thf;;;'. U. K Tran:spnrtal.ioJ1 Ses:urity Agency·····-dl
    !he rnon: difficult and heightens the risk to irm.:icent Ani.erkans and others fr(irn k,rror.ist and
    extrnrniBi. attacks. ;\.1oreovcr, the dor:nestic risk cannot be understated, e:.;;pt:daHy ~vHh lhe high
    rnteS" of gun vk,kn~t'. 111 0ur sdmols, d:iurches, dubs and pubHc gathering places. The rdease of
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    convidion, to build their own gun. These "ghost guu~;°' also p0sc a problem for hw cnfrwcernem
    as such firearms l.ack a serial nurnber and are Hms umrnceahk,

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    regarding anns export control complies funy ·with the k:ttt~r and spirit of the Arrrrn EKport
    Comrol .A.cL Further, any rdea-se shou.!d not Dccur until the Department~ Congress, and the
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              Exhibit W
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  From:              Timothy Mooney <Timothy.Mooney@bis.doc.gov>
  Sent:              Monday, July 30, 2018 9:42 AM
  To:                Monjay, Robert <MonjayR@state.gov>
  Cc:                Heidema, Sarah J <HeidemaSJ@state.gov>; Hart, Robert L <HartRL@state.gov>
  Subject:           Comments on Cat 1-111 rule. How are you guys coming on your comments?


  Hi Rob,

  The comments on the Commerce rule are posted in regulations.gov and on the BIS website.

  The comments received on the Commerce Cat 1-111 firearms proposed rule have been categorized and divided into tabs
  to ease the review process.

  How are you coming on getting thee State comments posted? Do you have the total number of comments received?

  The Tab folders use the same naming convention as referenced below:

  Identification of tabs

  SUPPORTIVE
  Tab l_Detailed supportive_Commerce firearms comments
  Tab 2_Bulk_or bulk like or less detailed supportive_Commerce firearms comments

  NOT SUPPORTIVE
  Tab 3_Detailed NOT supportive_Commerce firearms comments
  Tab 4A_Bulk NOT supportive_Commerce firearms rule
      •  Tab 4B_Bulk like_NOT supportive_l of 8_Commerce firearms rule 1 to 200
      •  Tab 4C_Bulk like_NOT supportive_2 of 8_Commerce firearms rule 201 to 400
      •  Tab 4D_Bulk like_NOT supportive_3 of 8_Commerce firearms rule 401 to 600
      •  Tab 4E_Bulk like_NOT supportive_4 of 8_Commerce firearms rule 601 to 800
      •  Tab 4F _Bulk like_NOT supportive_5 of 8_Commerce firearms rule 801 to 1000
      •  Tab 4G_Bulk like_NOT supportive_6 of 8_Commerce firearms rule 1001 to 1200
      •  Tab 4H_Bulk like_NOT supportive_7 of 8_Commerce firearms rule 1201 to 1400
      •  Tab 41_Bulk like_NOT supportive_8 of 8_Commerce firearms rule 1401 to 1540

  We posted the comments in sequential order on the BIS website. If you guys think it would be helpful for you, I can send
  you the PDFs, but email. lty would need to be in several emails though. Glad to do it if you want those.

  High Level Summary of Comments on Commerce Categories 1-111 (Firearms) Rule
  On May 24, 2018, Commerce published the proposed rule, Control of Firearms, Guns, Ammunition and Related Articles
  the President Determines No Longer Warrant Control Under the United States Munitions List {USML} (83 FR 24166).
  State published their proposed rule on the same day. The comment period on the Commerce and State proposed rules
  closed on July 9, 2018. On July 18, Commerce completed posting the 1,745 public comments (a total of 1,965 pages)
  received. Comments may be viewed on the BIS website by selecting the "Regulations" tab and then the "Proposed Rule
  Public Comments" tab. Comments are also posted on regulations.gov under docket number BIS-2017-0004.
  Commerce received 2,956 public submissions on the rule. Posted comments consist of 1,540 unique comments and 135
  bulk comments representing the additional 1,256 comments. 30 comments were not appropriate to post. Almost all of
  the bulk comment activity was generated by people that opposed the rule. One bulk comment was received from
  someone supportive of the rule.

  Types of comments received




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   Type of comments                               Number of comments                    % of total posted
   *Supportive, detailed                          15                                    0.8%
   Supportive, bulk/bulk like, or less detailed   41                                    2.3%
   *Opposed, detailed                             27                                    1.5%
   Opposed, bulk                                  127 (another 1256 received, but not   7.2%
                                                  posted because duplicates)
   Opposed, bulk like, or less detailed           1535                                  87.9%

  Thanks,
  Tim




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  From:                               Marquis, Matthew R < MarquisMR@state.gov>
  Sent:                               Thursday, May 24, 2018 9:56 AM
  To:                                 PM-DTCP-RMA
  Cc:                                 PM-CPA; PM-DDTC-Directors-DL; Miller, Michael F
  Subject:                            CPA Media Monitoring: New York Times: A Bid to Increase Gun Exports, Stalled After
                                      Sandy Hook, Moves Ahead



  [cid:image001.png@01D29279.128F6050]
  A Bid to Increase Gun Exports, Stalled After Sandy Hook, Moves Ahead By Tiffany Hsu and John Ismay
  23 May 2018

  The Trump administration wants to streamline the process for exporting American firearms, a change sought for years
  by domestic gun companies as a way to increase sales.

  A proposed rule expected to be published in the Federal Register on Thursday would transfer jurisdiction of consumer
  gun exports from the State Department, where the licensing process is expensive and extensive, to the Commerce
  Department, which has a simpler application process.

  Publication of the rule kicks off a 45-day comment period, after which departments including State and Commerce will
  review corrections and suggestions and then send a revised draft to Congress before final publication.

  Gun industry groups said that the shift, which was first conceived during the Obama administration but halted after the
  Sandy Hook school shooting in 2012, would pare down a bureaucratic process that currently discourages American
  firearms companies from sending their products abroad.

  Lawrence Keane of the National Shooting Sports Foundation called the proposal "a significant positive development for
  the industry that will allow members to reduce costs and compete in the global marketplace more effectively, all while
  not in any way hindering national security."

  But critics of the proposal worry that American guns, including AR-15s and similar semiautomatic rifles frequently used
  in mass shootings, could more easily find their way into the hands of foreign criminals. Among the reasons: a change in
  the disclosure rules for certain sales. The State Department is required by the Arms Export Control Act to submit any
  commercial arms sale worth $1 million or more to congressional review. The Commerce Department has no equivalent
  mandate.

  Representative Norma J. Torres, Democrat of California, has introduced legislation to keep oversight with the State
  Department, calling the proposed shift "dangerous."

  "It is very likely that the administration's plan could be a boon for illegal weapons traffickers and their unsavory
  customers - from ISIS to Mexico's Sinaloa Cartel," she wrote in a description of her bill.

  The proposed changes are meant to keep only items that are "inherently for military end use" under State Department
  control, and move those that are "widely available in retail outlets" to the Commerce Department.

  Export sales represent a small share of the domestic gun industry. Sturm Ruger and American Outdoor Brands, which
  owns the Smith & Wesson label, both generate less than 5 percent of their sales outside the United States.




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  Guns imports far surpass exports in the United States. In 2015, the most recent year available from the Justice
  Department, 5.1 million firearms were imported into the United States, and 343,456 firearms were exported.

  The shooting sports foundation predicts that revising the process would increase firearms exports by as much as 20
  percent, Mr. Keane said.

  But other experts pointed out that demand in some countries is constrained by strict gun-control regulations. And
  competition from brands like Italy's Beretta, Austria's Glock and Germany's Heckler & Koch could dampen enthusiasm
  for American entrants.

  Jurgen Brauer, the chief economist of the Small Arms Analytics research group, said he predicted loosened export rules
  would result in perhaps a 2 percent increase in sales for American gunmakers.

  "I don't see a competitive advantage for U.S. manufactured arms abroad," he said. "Looking purely at quality, reliability,
  reputation and price point, what is it that these manufacturers see to make them believe a U.S. weapon would stand out
  in the foreign market?"

  Firearm sales in the United States have struggled since President Trump, a vocal supporter of the gun industry, was
  elected. Fears of gun control, which helped propel demand to record highs during the Obama administration, have
  waned during Mr. Trump's tenure.

  It was under Mr. Obama's watch that the effort to turn the administration of commercial firearms export licenses to the
  Commerce Department began. The proposed rule concerning guns was nearly complete when 26 people, most of them
  children, were shot and killed in Newtown, Conn., in late 2012.

  Kevin Wolf, an assistant secretary of Commerce who was leading the development of the new export rules at the time,
  said he had decided to hold off on publication because of the tragedy.

  "Even though these rules have literally absolutely nothing to do with domestic gun control, I didn't think it was optically
  the right time to start discussing guns," he said. "I knew it was going to be a very emotional topic."

  The firearms rule currently being proposed "looks 95 percent identical" to the 2012 version, Mr. Wolf said.

  "This is an intensely bureaucratic exercise," he said. "It's not a major change in gun policy."

  The Commerce Department already oversees exports of certain shotguns, and the proposed rule adds "guns you can buy
  at a commercial gun distributor," Mr. Wolf said.

  However, not all the items that would be covered by the looser Commerce Department rules are available everywhere
  in the United States. California - one of the country's largest states for firearms sales - heavily regulates two items in
  particular: .So-caliber rifles and detachable magazines of the kind typically used by the military and police departments.

  The proposed changes would establish the benchmark for so-called high-capacity magazines as those capable of holding
  more than 50 rounds. California restricts most civilian residents to owning magazines that hold just 10 rounds; 30-round
  magazines, which are frequently used by the military, could be sold abroad.

  Similarly, California places tight restrictions on owning powerful .SO-caliber rifles, which are capable of hitting human-
  size targets at a range of 2,000 yards. The state Legislature called them a "clear and present terrorist threat" to not only
  human life, but also vehicles and infrastructure.

  Representative Elizabeth Esty, whose Connecticut district includes Newtown, said on Wednesday that she would try to
  "stop this if I can."

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  "This is a national security and diplomacy question, but moving it to Commerce makes it an economic promotion of an
  industry," she said. "It's putting profits ahead of people."

  Link: https://www.nytimes.com/2018/05/23/business/gun-exports-trump.html



  Matthew Marquis
  Office of Congressional & Public Affairs Bureau of Political-Military Affairs (PM/CPA) U.S. Department of State

  Phone:     202.647.6968
  e-mail:    MarquisMR@state.gov<mailto:MarquisMR@state.gov>             I   Web: www.state.gov/t/pm
  /<http://www.state.gov/t/pm%20/> ITwitter: @StateDeptPM



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